               Case 1:21-cr-00048-WES-PAS Document 2-2 Filed 10/21/20 Page 1 of 1 PageID #: 10
                                                                                                                                     PER 18 U.S.C. 3170
                             DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

BY:         INFORMATION
             INFORMATION                  INDICTMENT
                                           INDICTMENT               COMPLAINT CASE NO.              1:20-MJ-100 PAS

Matter Sealed:             Juvenile            Other than Juvenile                     USA vs.
    Pre-Indictment Plea          Superseding             Defendant Added                            Owen Batista
                                                                                   Defendant:
                                      Indictment         Charges/Counts Added
                                      Information
Name of District Court, and/or Judge/Magistrate Location (City)                    Address:

UNITED STATES DISTRICT COURT                    RHODE ISLAND
DISTRICT OF NEW MEXICO
            RHODE ISLAND                        Divisional Office

                                      AARON WEISMAN
Name and Office of Person
Furnishing Information on             ; U.S. Atty       Other U.S. Agency
THIS FORM                             Phone No.     (401) 709-5000                           Interpreter Required     Dialect:
 Name of Asst.
 U.S. Attorney         LEE H. VILKER
 (if assigned)                                                                       Birth                                   ✔ Male                 Alien
                                                                                     Date                                         Female       (if applicable)
                               PROCEEDING
 Name of Complainant Agency, or Person (& Title, if any)
 FEDERAL BUREAU OF INVESTIGATION                                                     Social Security Number

           person is awaiting trial in another Federal or State Court
           (give name of court)                                                                                     DEFENDANT


                                                                                   Issue:           Warrant            Summons
           this person/proceeding transferred from another district
           per (circle one) FRCrP 20, 21 or 40. Show District
                                                                                   Location Status:
                                                                                   Arrest Date 10/21/2020     or Date Transferred to Federal Custody

           this is a reprosecution of charges
           previously dismissed which were
                                                                                      ✔ Currently in Federal Custody
           dismissed on motion of:
                                                                                             Currently in State Custody
               U.S. Atty      Defense
                                                            SHOW                                   Writ Required
          this prosecution relates to a                   DOCKET NO.
                                                                                             Currently on bond
          pending case involving this same
          defendant. (Notice of Related                                                      Fugitive
          Case must still be filed with the
          Clerk.)
                                                             MAG. JUDGE
       prior proceedings or appearance(s)
                                                              CASE NO.
                                                                                  Defense Counsel (if any):
       before U.S. Magistrate Judge
       regarding this defendant were
       recorded under
                                                                                              FPD          CJA            RET'D
                                                                                                    Appointed on Target Letter
Place of    RHODE ISLAND                            County
offense

                                                                                            This report amends AO 257 previously submitted

      OFFENSE CHARGED - U.S.C. CITATION - STATUTORY MAXIMUM PENALTIES - ADDITIONAL INFORMATION OR COMMENTS

 Total # of Counts 2
    Set                 Title & Section/Offense Level                                       Description of Offense Charged                       Felony/Misd.
                                                                                                                                                  Count(s)
                     (Petty = 1 / Misdemeanor = 3 / Felony = 4)
                                                                                                                                                   Felony
1            18 U.S.C. § 2252(a)(4)(B) and (b)(2)                           Possession of child pornography                                        Misdemeanor
                                                                                                                                                   Felony
Max          Penalty: 10yrs imprisonment; Life S/R; and                     $250,000 fine                                                          Misdemeanor
                                                                                                                                                   Felony
2            18 U.S.C. § 2252(a)(2) and (b)(1)                              Distribution of child pornography                                      Misdemeanor
                                                                                                                                                   Felony
Max          Penalty: 5-20yrs imprisonment; Life S/R; and                   $250,000 fine                                                          Misdemeanor
                                                                                                                                                   Felony
                                                                            Estimated Trial Days: 3 days                                           Misdemeanor
